Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 1 of 110 Page ID
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Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 2 of 110 Page ID
                                  #:3039
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 3 of 110 Page ID
                                  #:3040
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 4 of 110 Page ID
                                  #:3041
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 5 of 110 Page ID
                                  #:3042
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 6 of 110 Page ID
                                  #:3043
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 7 of 110 Page ID
                                  #:3044
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 8 of 110 Page ID
                                  #:3045
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 9 of 110 Page ID
                                  #:3046
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 10 of 110 Page ID
                                  #:3047
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 11 of 110 Page ID
                                  #:3048
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 12 of 110 Page ID
                                  #:3049
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 13 of 110 Page ID
                                  #:3050
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 14 of 110 Page ID
                                  #:3051
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 15 of 110 Page ID
                                  #:3052
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 16 of 110 Page ID
                                  #:3053
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 17 of 110 Page ID
                                  #:3054
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 18 of 110 Page ID
                                  #:3055
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 19 of 110 Page ID
                                  #:3056
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 20 of 110 Page ID
                                  #:3057
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 21 of 110 Page ID
                                  #:3058
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 22 of 110 Page ID
                                  #:3059
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 23 of 110 Page ID
                                  #:3060
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 24 of 110 Page ID
                                  #:3061
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 25 of 110 Page ID
                                  #:3062
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 26 of 110 Page ID
                                  #:3063
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 27 of 110 Page ID
                                  #:3064
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 28 of 110 Page ID
                                  #:3065
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 29 of 110 Page ID
                                  #:3066
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 30 of 110 Page ID
                                  #:3067
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 31 of 110 Page ID
                                  #:3068
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 32 of 110 Page ID
                                  #:3069
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 33 of 110 Page ID
                                  #:3070
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 34 of 110 Page ID
                                  #:3071
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 35 of 110 Page ID
                                  #:3072
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 36 of 110 Page ID
                                  #:3073
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 37 of 110 Page ID
                                  #:3074
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 38 of 110 Page ID
                                  #:3075
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 39 of 110 Page ID
                                  #:3076
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 40 of 110 Page ID
                                  #:3077
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 41 of 110 Page ID
                                  #:3078
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 42 of 110 Page ID
                                  #:3079
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 43 of 110 Page ID
                                  #:3080
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 44 of 110 Page ID
                                  #:3081
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 45 of 110 Page ID
                                  #:3082
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 46 of 110 Page ID
                                  #:3083
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 47 of 110 Page ID
                                  #:3084
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 48 of 110 Page ID
                                  #:3085
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 49 of 110 Page ID
                                  #:3086
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 50 of 110 Page ID
                                  #:3087
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 51 of 110 Page ID
                                  #:3088
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 52 of 110 Page ID
                                  #:3089
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 53 of 110 Page ID
                                  #:3090
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 54 of 110 Page ID
                                  #:3091
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 55 of 110 Page ID
                                  #:3092
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 56 of 110 Page ID
                                  #:3093
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 57 of 110 Page ID
                                  #:3094
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 58 of 110 Page ID
                                  #:3095
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 59 of 110 Page ID
                                  #:3096
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 60 of 110 Page ID
                                  #:3097
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 61 of 110 Page ID
                                  #:3098
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 62 of 110 Page ID
                                  #:3099
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 63 of 110 Page ID
                                  #:3100
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 64 of 110 Page ID
                                  #:3101
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 65 of 110 Page ID
                                  #:3102
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 66 of 110 Page ID
                                  #:3103
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 67 of 110 Page ID
                                  #:3104
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 68 of 110 Page ID
                                  #:3105
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 69 of 110 Page ID
                                  #:3106
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 70 of 110 Page ID
                                  #:3107
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 71 of 110 Page ID
                                  #:3108
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 72 of 110 Page ID
                                  #:3109
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 73 of 110 Page ID
                                  #:3110
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 74 of 110 Page ID
                                  #:3111
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 75 of 110 Page ID
                                  #:3112
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 76 of 110 Page ID
                                  #:3113
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 77 of 110 Page ID
                                  #:3114
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 78 of 110 Page ID
                                  #:3115
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 79 of 110 Page ID
                                  #:3116
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 80 of 110 Page ID
                                  #:3117
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 81 of 110 Page ID
                                  #:3118
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 82 of 110 Page ID
                                  #:3119
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 83 of 110 Page ID
                                  #:3120
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 84 of 110 Page ID
                                  #:3121
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 85 of 110 Page ID
                                  #:3122
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 86 of 110 Page ID
                                  #:3123
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 87 of 110 Page ID
                                  #:3124
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 88 of 110 Page ID
                                  #:3125
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 89 of 110 Page ID
                                  #:3126
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 90 of 110 Page ID
                                  #:3127
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 91 of 110 Page ID
                                  #:3128
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 92 of 110 Page ID
                                  #:3129
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 93 of 110 Page ID
                                  #:3130
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 94 of 110 Page ID
                                  #:3131
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 95 of 110 Page ID
                                  #:3132
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 96 of 110 Page ID
                                  #:3133
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 97 of 110 Page ID
                                  #:3134
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 98 of 110 Page ID
                                  #:3135
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 99 of 110 Page ID
                                  #:3136
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 100 of 110 Page ID
                                   #:3137
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 101 of 110 Page ID
                                   #:3138
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 102 of 110 Page ID
                                   #:3139
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 103 of 110 Page ID
                                   #:3140
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 104 of 110 Page ID
                                   #:3141
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 105 of 110 Page ID
                                   #:3142
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 106 of 110 Page ID
                                   #:3143
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 107 of 110 Page ID
                                   #:3144
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 108 of 110 Page ID
                                   #:3145
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 109 of 110 Page ID
                                   #:3146
Case 2:21-cv-04405-RGK-MAR Document 113-9 Filed 07/19/22 Page 110 of 110 Page ID
                                   #:3147
